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                          UNITED STATES DISTRICT COURT
                              DISTRICT O.F 1..4EW JERSEY



  NITFD STATES OF AyIEklC\
                                                Rl\l \u UQ-So tR( )                —
                                                                                            J

                                                ORDER MODIFYING BAIL
 PE fER VENTICELLI,

                         I)efendant,


         This matter beine opened to the Court by Abrams & Wofsv. lAgs.. attorney br

 deindant, Peter Ventricelli. (Arthur J Abram, Lsq. appearing). in the presence of the

 United States Attorney for the District of New Jersey, (Assistant United States Attorney

 I es]ic Faie Schwartz, appearing> for an Order modifying the previous Order Setting

 ( onditions of Releasc’ in the above entitled criminal number to eliminate electronic

 monituri ne of defendant Peter Ventricelli by Pretrial Services due to the thct that the

 defendant is currently being electronically monitored by the United States Probation

 Department as a con.dition of h.is sentence for Cri:m, No, O95O I (SRC) and Pretrial

 Services havine requested this elimination and the I nited States attorney han ing no

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         OEiJ FRED that. electronic monItoring for Crim No. O9863 (SR,C) by Pretrial

 Services is hereby terminated at this. time and.;
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       IT IS FURThER ORDERED that the United Stated Probation Department which

 is presently electronically monitoring defendant as part of his sentence on Crim. No.

 09-501 (SRC) continue said monitoring end:

       IT IS FURTHER ORDERED that all other conditions of release previously set by

 the court shall remain in efkct.




                                                                                            -   ..




                                               Ho    ten R. Chesler         --___


                                                nited States District Court Judge


 I hereby consent to the form and entry
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